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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                             SOUTHERN DIVISION AT LONDON

 AMY JACKSON-BOLINGER, PAMELA
 JOHNSON, and MELISSA NORTH, on behalf
 of themselves and all others similarly situated,

                PLAINTIFFS,                             CIVIL ACTION NO. 6:19-CV-152-REW

 v.                                                     Electronically Filed
 AMERICORE HEALTH, LLC, et al.,

                DEFENDANTS.


                       REPORT OF PARTIES’ PLANNING MEETING

        The following is the Parties’ Report of the Federal Rule of Civil Procedure 26(f) Planning

 Meeting:

        1.      Pursuant to Federal Rule of Civil Procedure 26(f), a telephone conference was

 held on October 24, 2019 and was attended by (1) Ronald E. Johnson, Jr., counsel for Plaintiffs,

 (2) Chadwick A. McTighe, counsel for Defendants Charles Bishop, Albey Brock, Matthew

 Brock, HD Cannington, John Combs, Mansfield Dixon, David Gambrel, Talmadge Hayes, Estate

 of John Garfield Howard, Johnny Jones, Greg Nunnelley, Jay Steele, Jerry Woolum, M.D., and

 The Pineville Community Hospital Administrative Services Agreement Health Care Plan

 (collectively, the “Pineville Defendants”), and (3) Jared Cox and Aaron Marcus, counsel for

 Defendants Americore Health, LLC, Americore Health Enterprises, LLC, and Americore Health

 Management, LLC (collectively, the “Americore Defendants”). The parties have agreed to the

 following deadlines for discovery and pretrial compliance.

        2.      Initial Disclosures. The parties will serve the initial disclosures required by Rule

 26(a)(1) by November 14, 2019.
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        3.      Discovery Plan. The parties propose to the Court the following discovery plan:

                (a)     Discovery will be needed on the allegations, claims, and defenses

 contained in the parties’ pleadings.

                (b)     Fact discovery will begin after the scheduling order is entered by the

 Court, and will conclude by January 29, 2021.

                (c)     The parties agree that electronically stored information likely exists that is

 subject to discovery. The parties will identify and preserve electronically stored information in

 their native formats. The parties will produce electronically stored information in PDF or TIFF

 format, unless production in native format is required to enable all information in the document

 to be viewed (e.g., if an Excel spreadsheet includes cells containing calculations that would not

 appear in a PDF or other non-native format). Any party may request the production of an

 electronic file produced in PDF or TIFF format to be produced in native format, and the

 producing party shall do so unless it is impracticable or such production otherwise would be

 inappropriate for any reason (e.g., reviewing the file in native format would require the use of a

 proprietary software). The parties agree to cooperate to attempt to resolve any disputes over

 native productions in good faith prior to seeking relief from the Court.

                (d)     Inadvertent Production Protocol. The parties agree that, consistent with

 Federal Rule of Civil Procedure 26(b)(5)(B), the production of any document or electronically

 stored information that contains attorney-client privileged material and/or material which is

 subject to the work product doctrine shall not constitute a waiver of the attorney-client privilege

 or the protections of the work product doctrine if the production was made due to oversight or

 error of counsel or the parties. If a party discovers, whether by analysis of produced information

 or by notice from the opposing party, that it has received documents or electronically stored



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 information that contain materials subject to the attorney-client privilege or the work product

 doctrine, that party shall isolate the privileged or protected information, notify the producing

 party of the disclosure, and, at the option of the disclosing party, return or destroy the privileged

 or protected information and all copies thereof.

                Any party claiming privilege over any material shall provide a privilege log that

 identifies the materials being withheld or clawed back in a manner consistent with the

 requirements of Federal Rule of Civil Procedure 26(b)(5). If there is a dispute as to whether any

 material in question is subject to any claim of privilege, the party opposing the designation of

 privilege shall return or destroy the material in question to the producing party and notify the

 producing party of its objection(s) to the claim of privilege. If the parties cannot reach an

 agreement on whether the material is or is not privileged within fourteen (14) business days (the

 “Confer Period”), then the producing party who is claiming privilege shall, within ten (10) days

 of the expiration of the Confer Period, file a Motion with the Court attaching the challenged

 material for in camera review, and stating its position as to why the challenged material is

 privileged. The Motion shall be briefed in accordance with the Federal Rules of Civil Procedure

 and/or any applicable Local Rule. The challenged material shall be considered privileged unless

 the Court rules that the challenged material is not subject to any privilege.

                (e)     The parties do not agree to the limitations on the maximum number of

 interrogatories set forth in Federal Rule of Civil Procedure 33(a). For purposes of this section

 3(e), Plaintiffs shall be treated as one party, the Pineville Defendants shall be treated as one

 party, and the Americore Defendants shall be treated as one party. Plaintiffs may serve up to up

 to 25 interrogatories to each Defendant, the Pineville Defendants may serve up to 25

 interrogatories on each Plaintiff and each Americore Defendant, and the Americore Defendants



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 may serve up to 25 interrogatories on each Plaintiff and each Pineville Defendant. Any party

 may seek consent of the affected party or parties or leave of Court to propound interrogatories in

 excess of the limitations set forth herein for good cause.

                Given the number of parties, the parties do not agree to the limitations on the

 maximum number of depositions set forth in Federal Rule of Civil Procedure 30(a)(2). Instead,

 each party (as defined above) may take the deposition of any named Plaintiff, Defendant, or any

 other party joined in the action, and up to ten additional depositions without obtaining leave

 from the Court. Any party may seek consent of the other parties or leave of Court to take

 additional depositions in excess of the limitations set forth herein for good cause. Pursuant to

 Federal Rule of Civil Procedure 30(d), each deposition is limited to one day of seven hours,

 unless extended by stipulation of the parties or order of the Court.

                (f)     Disclosure of affirmative experts and reports under Rule 26(a)(2) shall be

 due by February 12, 2021. Disclosure of rebuttal experts and reports under Rule 26(a)(2) shall

 be due by March 29, 2021. Any expert depositions or other expert discovery shall be completed

 by April 30 2021.

        4.      Other items.

                (a)     The parties do not request an in-person meeting with the Court before the

 scheduling order is entered.

                (b)     A final pretrial conference is requested in July or August 2021.

                (c)     The final date to amend pleadings or to join parties is October 1, 2020.

                (d)     Any motion for class certification shall be filed no later than October 1,

 2020. Response and reply deadlines shall be governed by LR 7.1.




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                 (e)    Dispositive motions and Daubert motions shall be filed no later than May

 7, 2021. Response and reply deadlines shall be governed by LR 7.1.

                 (f)    Motions In Limine and objections to witnesses and exhibits shall be filed

 no later than 30 days before trial.

                 (g)    Responses to motions in limine shall be filed no later than 15 days before

 trial.

                 (h)    The parties believe they should be able to evaluate the case for settlement

 purposes prior to trial and are amenable to mediation.

                 (i)    A final witness list shall be filed by the parties no later than 45 days

 before trial.

                 (j)    A list of exhibits shall be filed by the parties no later than 45 days before

 trial.

                 (k)    Page and line designations of deposition testimony for trial shall be filed

 no later than 45 days before trial. Counter-designations shall be filed no later than 30 days

 before trial.

                 (l)    This case should be ready for trial by August 2021 and is expected to last

 two to three weeks.

                 (m)    The parties do not consent to refer this matter to the Magistrate Judge for

 trial and post-trial proceedings.




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 Report submitted by:


  /s/ Ronald E. Johnson, Jr. (w/permission)       /s/ Chadwick A. McTighe
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                                                  David Gambrel, Talmadge Hayes, Estate of
                                                  John Garfield Howard, Johnny Jones, Greg
                                                  Nunnelley, Jay Steele, Jerry Woolum, M.D.,
                                                  and The Pineville Community Hospital
                                                  Administrative Services Agreement Health
                                                  Care Plan



  /s/ Jared A. Cox (w/permission)
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                                  CERTIFICATE OF SERVICE
        I hereby certify that a copy of the foregoing was filed on this 4th day of November, 2019,
 through the Court’s ECF system, which will send an electronic notice to all counsel of record.



                                             /s/ Chadwick A. McTighe

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